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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON




IRINA K. BENDER,

                                   Plaintiff,

                       v.                                      Civil No. 07-459-AA

MICHAEL J. ASTRUE,
Commissioner of Social Security,

                              Defendant.
_____________________________________________

                                     JUDGMENT

       The Commissioner's decision is reversed and remanded for payment of benefits. This

action is dismissed.

       Dated: May 2, 2008..




                                       /s/ Ann Aiken
                                United States District Judge




JUDGMENT                                               DOCUMENT NO:
